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                            United States District Court
                               Eastern District of Virginia
                                  Alexandria Division
                                                                 i5 m    -1 P    3: 18

Shraddha Patel
                                                                fLZ'.[

Plaintiff,

V.                                               CASE NUMBER,

Kirit Patel,
                                                                -rs^jrcj^
AKA: Kiritkumar Ambalal Patel


Krupa Patel,

Atul Patel,                                      JURY TRIAL DEMANDED
AKA: Atulkumar Ambalal Patel
AKA: Atulkumar Arvindbhai Patel
125 Grandview Blvd
Reading, PA 19609

Nina Patel,
AKA: Nayna Patel
125 Grandview Blvd
Reading, PA 19609

Manu Patel,
738 Market Street
Gloucester City, NJ 08030

Prabudas Ambalal Patel,

Nisha Patel,
AKA: Nisha Prabudas Patel


and


Suresh Patel,

Defendants.




                               VERIFIED COMPLAINT
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       Shraddha Patel, Plaintiff, by counsel, submits the following Complaintseekingrecovery

of damages fortortious injuries against Defendants Kirit, Krupa, Atul, Nina, Manu, Prabudas,

Nisha, and Suresh ("Defendants"), and in supportthereof states the following:

                                           PARTIES


1.     Plaintiff, Shraddha Patel is an adult. In April and Mayof 2013, Plaintiff owned and

resided at 3650 S. Glebe Rd Unit 646, Arlington, Virginia 22202.

2.     Defendant Kirit Patel is the father of Shraddha Patel, sin adult resident of California. On

information and belief, Kirit Patel is also known as Kiritkumar Ambalal Patel.

3.     Defendant Krupa Patel is the step-mother of Plaintiff and an adult resident of California.

4.     Defendant Atul Patel is the uncle of Shraddha Patel, an adult resident of Pennsylvania.

On information and belief, at all relevant times hereto. Defendant Atul Patel resided at 125

Grandview Blvd, Reading, Pennsylvania, 19609. Oninformation and belief, Atul Patel is also

known as Atulkumar Ambalal Patel and Atulkumar Arvindbhai Patel.

5.     Defendant Nina Patel is the aimt of Plaintiff, an Adult resident of Pennsylvania. On

information and belief, at all relevant times hereto DefendantNina Patel resided at 125

Grandview Blvd, Reading, Pennsylvania, 19609.

6.      Defendant Manu Patel, an adult resident of New Jersey.

7.      Defendant Prabudas Patel, Plaintiffs uncle, is an adult resident of Georgia.

8.      Defendant Nisha Patel, Plaintiffs aunt, is an adult resident of Georgia.

9.      Defendant Suresh Patel, Nina's brother, is an adultresident of Pennsylvania. During the

time Plaintiff was held, Defendant Suresh was residing at 125 Grandview Blvd, Reading,

Pennsylvania, 19609.

                                 »TURlSDICTION AND VENUE
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10.    Subject Matter Jurisdiction is properly vested in this Court according to U.S.C. § 1332

because Plaintiff is a resident of Maryland and on information and belief Defendants are

residents of California, Pennsylvania, New Jersey, and Georgia, and the amount in Controversy

exceeds $75,000.

11.    Venue is proper in this Court accordingto U.S.C. § 1391 (b)(2) because the initial injury,

the subject real estate, and several subsequent injuries herein complained of occurred in

Arlington, Virginia.

                            FACTS COMMON TO ALL COUNTS


12.    Plaintiff resided in the home she owned at 3650 S. Glebe Rd Unit 646, Arlington,

Virginia, 22202; this home was subject to a mortgage. On or aboutMay 1stof 2013, Defendants

Kirit Patel, Atul Patel, Nina Patel, and Krupa Patel removed Plaintiff by force, threat of force, or

intimidation from her home without her consent and without lawful justification, falsely

imprisoned her, confined her in a place not ofher choosing, forced her to sign unknown

documents under duress, assaulted, and battered her. She was continuously confined by

Defendants from May of 2013 until she escaped in October of 2013.

13.    Before, during, and after the forceful abduction, Plaintiffinformed Defendants that she

desired to remain in her home or at least she should be taken to a nearby hospital. Plaintiff was

suffering from bronchitis and was in an enfeebled condition. In contraventionofher express

desire. Defendants falsely imprisoned her.

14.     Plaintiff was forcefully held and confined in Defendants Atul's and Nina's vehicle and

driven to Reading, Pennsylvania; on information and belief, to the home of Atul and Nina. She

was held against her will and without lawfuljustification in DefendantsAtul's and Nina's home

in Pennsylvania from May 2013 to approximately September 2013.
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15.    During the period from May 2013 to approximately September 2013, Defendants

removed Plaintiffs property from her possession, such as her purse, identification, credit cards

and cellphone, among otherproperty. She was forced to live in substandard living conditions,

she was struck with fists and blxmt objects,threatened with further physical force if she did not

obey Defendants' instructions, she was not permitted the privateuse ofbathroom facilities, she

was not permitted the use of properhygiene products (including feminine hygiene products), she

was not permitted privacy to disrobe and change, she had her clothing forcefully removed from

her body,her prescribed medication and contact lenses weretaken awayfrom her, and she was

forced to take unknown pills. During this time, she was falsely imprisoned, battered, humiliated,

and assaulted.


16.    On several occasions, while Plaintiff was being held at Atul and Nina's home, Nina

Patel's brother. Defendant Suresh, agreed to keep watch over Plaintiffand with use of force or

threat of force, unlawfully prevented her escape.

17.     In approximately September 2013,under threat of force. Plaintiffwas taken to an airport

and forced against her will to fly to California.

18.     In California, Plaintiffwas held againsther will and withoutlegaljustificationby

Defendants Kirit and KrupaPatel. Plaintiffwas held in California until she escaped in

approximately October 2013. During thistime period, Defendants physically struck Plaintiff, hit

her head against a wall, kicked, punched, and beat her with blunt objects causing multiple

bruises, injuryto her lowerback, and causing her to bleed from several wounds. Defendants

prevented Plaintiffs access to hermedication for multiple conditions and shewasthreatened

with further physical injuryor death if she did not obey Defendants. During this time, she was

falsely imprisoned, battered, humiliated, and assaulted.
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19.    While being held by Defendants Kirit and Krupa Patel, from approximately September

2013 to October 2013, Plaintiff was falsely imprisoned, subjected to substandard living

conditions, humiHated, battered, assaulted, and threatened. Furthermore, at least one of the

Defendantsthreatenedthat if Plaintiff escaped. Defendants would kill Plaintiff and Plaintiff s

mother. Plaintiff knew about Kirit's history ofbeating and threatening to kill Plaintiffs mother

and therefore was in fear ofher own life and safety and the life and safety ofher mother.

20.    Sometime in October 2013, Plaintiff was able to surreptitiously contact a taxi, was driven

to an airport in the taxi, andwith assistance from her mother, she was ableto get a plane ticket to

leave California.


21.    Defendants Prabudas and Nisha Patel stayed at the home of Defendants Atul and Nina

Patel for several weeks while Plaintiff was being held captive at that location. During that time,

theyparticipated in acts of humiliation, threatened Plaintiff, supported, encouraged and

otherwise aided and abetted other Defendants' tortious conduct towards Plaintiff. Additionally,

several forged checks writtenby Defendant Kirit Patelwere written to Nisha Patel.

22.    Defendant Manu Patel aided and abetted other Defendants' tortious conduct by providing

counsel, support, or encouragement to Kirit Patel shortly after the abduction of Plaintiff.

Furthermore, on information and belief. Defendant Manu knew of Plaintiff s false imprisonment

and then provided a location for Defendant Kirit to store Plaintiffs vehicle and provided other

support and otherwise facilitated the tortious conduct. Oninformation andbelief. Defendant

Manu alsoprofited from Plaintiffs false imprisonment by the use of Plaintiff s vehicle without

Plaintiffs permission while shewasfalsely imprisoned. Defendant Manu knew about the false

imprisonment, had an opportunity to counsel against the Defendants' tortious conduct, but

instead supported and facilitated the tortious conduct.
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23.    On information and belief, during Plaintiff's imprisonment, Defendant Kirit Patel

imlawfullyused a computerto fraudulently access Plaintiffs bank account, forged checks in her

name, fraudulently contactedPlaintiffs mortgage lender, fraudulently applied for and collected

unemployment in Plaintiffs name, fraudulently collectedrent from Plaintiffs property, and

committed other possiblefrauds injuring Plaintiff. Defendant Atul also fraudulently contacted

Plaintiffs mortgage lender and divertedPlaintiffs mail to a Post OfficeBox that Plaintiffdid

not know about and did not have access to.


24.    Defendants,Kirit and Atul Patel removed Plaintiffs personal property from Plaintiffs

former home, deprived Plaintiffof ownership of that personalty, and converted that property for

their own use.


25.    Throughout the events complained of herein. Defendants Kirit Patel, Atul Patel, Nina

Patel, Krupa Patel, Manu Patel, Prabudas Patel, NishaPatel, and Suresh Patel agreed with each

other and actedin concert to effect the goal of falselyimprisoning Plaintiff, to causePlaintiff

extreme emotional distress, to physically batterher, to placeher in apprehension of additional

batteries, to convert her personal propertyand money, to fraudulently access her bank account

and other financial information, and to unlawfully receive money in Plaintiff s name. In the

alternative, each Defendant actedpurposefully in furtherance of group's agreed goals.

26.    As a result of all Defendants' conduct. Plaintiff has sustained physical and emotional

injuries that are permanent in nature, lost property, lost earning capacity for several reasons one

of which being the damage to her creditrating and erroneous entries in her creditreport, lost

wages, she has been in a constant stateof fear that the Defendants will again infringe uponher

liberty, she has had difficulty trusting people, has had difficulty gaining employment due to her
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credit rating being damaged by thefraudulent conduct of Defendants, and hermortgage lender

has foreclosed on her home.


                            COUNT 1 - FALSE IMPRISONMENT
                              Kirit, Krupa, Atul, Nina, and Suresh

27.    The allegations setforth in Paragraphs 1through 26 of this Complaint are realleged and

incorporatedby reference as if fully set forth herein.

28.    Defendants' deliberate acts depriving the Plaintiff of her liberty constitute the tort of false

imprisonment. These unlawful and deliberate acts were outrageous conduct inviolation of
normal standards of decency and were without privilege or justification.

29.    Defendants deliberately acted for the specific purpose of confining or restraining the

Plaintiffsperson within boimdaries fixed by theDefendants, Plaintiffwas conscious ofthe

confinement, and was severely harmed by it.

30.     In the alternative, the Defendants acted withthe knowledge to a substantial certainty that

their deliberate acts would restrain the person ofthe Plaintiff.

31.     All Defendants, including Manu, Prabudas, andNisha, knewof Plaintiffs false

imprisonment, aided and abetted, counseled, or encouraged theprincipal actors in conunitting

the acts of false imprisonment, hi the altemative. Defendants knowingly profited because of

other tortfeasors' acts.

        WHEREFORE, Plaintiffprays forreliefand judgment against Defendants jointly and

severally in theamount of $3,000,000 in compensatory damages for physical injury, emotional

andmental distress, and violation of Plaintiffs liberty, $9,000,000 in treble punitive damages for

Defendants' outrageous, malicious, and wanton conduct, attorney's fees, costs of bringing this

suit, and pre-judgment interest.

                                      COUNT 2-BATTERY
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                              Kirit, Krupa, Atul, Nina, and Suresh

32.    Theallegations set forth in Paragraphs 1 through 31 of this Complaint arerealleged and

incorporated by reference as if fully set forth herein.

33.     Defendants' deliberate acts of touching Plaintiffs person constitute the tort ofbattery.

Theseunlawful and deliberate acts were outrageous conduct in violation of normal standards of

decency and were without privilege or justification.

34.     Onmultiple occasions, Defendants deliberately touched Plaintiffin harmful, unwanted,

and offensive ways causing physical injury and offensive contact. These multiple acts of

touching were neither consented to, excused, or justified.

35.     All Defendants, including Manu, Prabudas, andNisha, knowingly aided and abetted,

counseled, or encouraged the principal actors in committingthe acts ofbattery.

        WHEREFORE, Plaintiffprays forreliefand judgment against Defendants jointly and

severally in the amount of $2,850,000 in compensatory damages forphysical injury, emotional

andmental distress, and violation of Plaintiffs liberty, $8,550,000 in treble punitive damages for

Defendants' outrageous, malicious, andwanton conduct, attorney's fees, costs of bringing this

suit, and pre-judgment interest.

                                      COUNT 3-ASSAULT
                               Kirit, Krupa, Atul, Nina, and Suresli

36.     The allegations set forth in Paragraphs 1 through 35 of this Complaint arerealleged and

incorporated by reference as if fully set forth herein.

37.     In addition to the batteries complained of, Defendants' multiple deliberate acts of threats

and other conduct placed Plaintiff in the reasonable apprehension of additional immediate

harmful or offensive touching. Theseunlawful and deliberate acts were outrageous conduct in

violation of normal standards of decency and were without privilege or justification.
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38.    On multiple occasions, DefendantsKirit and Atul threatened to kill Plaintiff or her

mother, threatened to batter her, in addition to other acts of intimidation.

39.     On multiple occasions. Defendants deliberately acted to create the reasonable

apprehension in Plaintiffs mind of additional harmful, imwanted, and offensive touching; these

acts by Defendants were neither consented to, excused, or justified,

40.     All Defendants, includingManu, Prabudas, and Nishei, knowingly aided and abetted,

counseled, or encouraged the principal actors in committing the acts of assault.

        WHEREFORE, Plaintiffprays for relief andjudgmentagainst Defendants jointly and

severally in the amount of $1,425,000 in compensatory damages for physical injury, emotional

and mental distress, and violation of Plaintiffs liberty, $4,270,000 in punitive damages for

Defendants' outrageous, malicious, and wanton conduct, attorney's fees, costs of bringing this

suit, and pre-judgment interest.

         COUNT 4 - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                              Kirit, Krupa, Atul, Nina, and Suresh

41.     The allegations set forth in Paragraphs 1 through 40 of this Complaint are realleged and

incorporated by reference as if fully set forth herein.

42.     Defendantsintentionallyor recklessly acted in an outrageous and intolerable fashion to

cause extreme emotional distress to Plaintiff, Defendants' actions directly and proximately

caused such emotional distress, and the Plaintiffs emotional distress so caused was severe.

43.     Defendants' conduct of stripping Plaintiffs clothes from her body, prohibiting her access

to proper feminine hygiene products, taking Plaintiffs prescribed medication from her,

preventingPlaintiff from possessing her proper correctivelenses, forcing her to live in

substandard living conditions, preventing Plaintiff from accessing clean undergarments, forcing

Plaintiff to eat substandard food, not affording Plaintiff privacy, forcing Plaintiffto take
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unknown pills, and otherwise mistreatingPlaintiff was so extreme that these acts offend against

the generally accepted standards of decency and morality in a civilized community.

44.    Defendants, including Manu, Prabudas, and Nisha, knowingly aided and abetted,

counseled, or encouraged the principal actors in committing the acts of intentional infliction of

emotional distress.


       WHEREFORE, Plaintiff prays for relief and judgment against Defendants jointly and

severally in the amount of $1,000,000 in compensatory damages for physical injury, emotional

and mental distress, and violation of Plaintiffs liberty, $3,000,000 in punitive damages for

Defendants' outrageous, malicious, and wanton conduct, attorney's fees, costs of bringing this

suit, and pre-judgment interest.

       COUNT 5 ^ VIOLATION OF THE VIRGINIA COMPUTER CRIMES ACT
                  VA Code SS 18.2-152.12; 18.2-152.3:18.2-152.5; 18.2-152.8
                                                Kirit


45.    The allegations set forth in Paragraphs 1 through 44 of this Complaint are realleged and

incorporated by reference as if fully set forth herein.

46.    Defendant Kirit accessed a computer and, without authority from Plaintiff, fraudulently

contacted Plaintiffs mortgage lender. Plaintiffs bank, government entities, and others,

fraudulently acting as Plaintiff or as Plaintiffs agent to obtain money, unemployment benefits, to

seek a modification of Plaintiffs mortgage, and to commit other possible firauds.

47.    Additionally, on information and belief. Defendant Kirit accessed a computer and

received sensitive or private information regarding Plaintiffs credit or other financial or

identifying information and used it in other possible frauds or distributed it to other persons.

       WHEREFORE, pursuant to VA Code § 18.2-152.12, Plaintiff prays for relief and

judgment against Defendants jointly and severally in the amount of $1,000,000 in compensatory
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damages for lost profits, lost wages and earning capacity due to damaged credit, attorney's fees,

costs ofbringing this suit, and pre-judgment interest.

                                       COUNT 6-FRAUD
                                           Kirit and Atul


48.       The allegations set forth in Paragraphs 1through 47 ofthis Complaint are realleged and
incorporatedby reference as if fully set forth herein.

49.       Defendants knowingly and intentionally forged Plaintiffs signature onchecks and other

documents causing injury to Plaintiff. Defendants also fraudulently concealed the nature of
several documents and forced Plaintiff to sign them under threat of force.

50.       Defendants knowingly and intentionally concealed facts todivert money due to Plaintiff

from the renting ofher property to Defendantsfor their own purposes.

51.       Defendants fraudulently contacted Plaintiff's mortgage lender. In the course of

Defendants' fraudulent dealings, they caused Plaintiffs property to go into foreclosure.

52.       Defendants fraudulently contacted the United States Postal Service and diverted mail

intended forPlaintiffto a Post Office Boxdepriving Plaintiff of important mail causing her

damage.

53.       Oninformation and belief. Defendants Krupa, Nina, Manu, Prabudas, Nisha, and Suresh

knew about, agreed with, intentionally supported, and profited from Defendants Kirit's and
Atul's fraudulent conduct.

54.       Defendants acted with actual malice or willful and wanton disregard of the Plaintiff s

rights.

          WHEREFORE, Plaintiffprays forreliefand judgment against Defendants jointly and

 severally inthe amount of $1,000,000 in compensatory damages for physical injury, emotional
 andmental distress, violation of Plaintiff's liberty, loss of Plaintiffs property, andother damage
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to Plaintiff, $3,000,000 in punitive damages for Defendants' outrageous, malicious, and wanton

conduct, attorney's fees, costs of bringing this suit, and pre-judgment interest.

                       COUNT 7 - COMMON LAW CIVIL CONSPIRACY
                                           All Defendants


55.    The allegations set forth in Paragraphs 1 through 54 of this Complaint are realleged and

incorporated by reference as if fully set forth herein.

56.    Defendants agreed or combinedto accomplish by concerted action the false

imprisonment, batteries, assaults, infliction of emotional distress, conversion of Plaintiffs

property, and frauds, and by such concerted action or acts committed in furtherance of the

conspiracy directly andproximately caused the accomplishment ofthe tortious acts causing

damage to Plaintiff.

57.     All Defendants acted with actual malice or acted intentionally, purposely, and without

lawfuljustification to accomplishthe tortious acts causing damage to Plaintiff.

58.     All Defendants, not only the principal actor or actual assailantfor each tortious act, aided,

abetted, counseled, or encouraged the other tortfeasorsby words, facilitation of the tortious acts,

othertortious acts infringing Plaintiffs liberty, or otheracts in furtherance of the conspiracy and

are therefore equallyliable with each other to Plaintiff, irrespective of whetherthey were present

when each wrongful act was done, and irrespective ofwhether their motives were malicious.

        WHEREFORE, Plaintiffprays for relief andjudgment against Defendants jointly and

severallyin the amountof $10,275,000 in compensatory damages for physicalinjury, emotional

and mental distress, violation of Plaintiffs liberty, loss of Plaintiff s property, lost wages, lost

earning capacity due to damaged credit, and otherphysical and emotional injuries to Plaintiff,

$27,820,000 in punitive damages for Defendants' outrageous, malicious, and wanton conduct,

attorney's fees, costs of bringing this suit, and pre-judgment interest.
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                                   PRAYER FOR RELIEF


       WHEREFORE, Plaintiffprays for relief andjudgment against Defendants jointly and

severally as follows: for compensatory and actual damages in the amount of $10,275,000, the

exact amount to be determined at trial, according to proof; for punitive damages in the amountof

27,820,000; and for such other relief as the Court deems just and proper.

                JURY DEMAND: The Plaintiff demands a jury trial on all issues.

                                             Shraddha Patel,



                                                     Counsel


                                             Douglas M. Coleman, VSB #25035
                                             Matthew A. Crist, VSB #85922
                                             Coleman Law Group PLC
                                             602 Cameron Street
                                             Alexandria, Virginia 22314
                                             (703) 739-4200 (telephone)
                                             (703) 739-4210 (facsimile)
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                                        VERIFICATION


        I, Shraddha Patel, am the Plaintiffin the present case and on this ^jj^day of
20    hereby declare as follows: I have reviewed this Complaint and the allegations stated

herein and I verify under penalty of peijury that the factual allegations I have made in this

Complaint are true and accurate andin the allegations about which I do nothavepersonal

knowledge, I believethem to be true and accurate based upon information andbelief




                                                        dha Patel



                                              JURAT

        On this      day of               20_/£, before me, the undersigned notary pubHc,

personally appeared Shraddha Patel proved to me through satisfactory evidence of identification,

which were M0 Qri                        tobethe person who signed above who swore to methat

the contents of this Complaint are truthful and accurate to the best of her knowledge andbelief.


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CDrr\rl^,\S<^'^0'^                    I hol2on.
                                                                      OLGA V.JOHNSON
                                                                       notary public
                                                                    REGISTRATION # 7575988
                                                                 COMMONWEALTH OFVIRGmiA
                                                                  MY COMMISSION EXPIRES
                                                                    SFPTEMBER 30. 2017
